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                                                                          4                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          8   ORACLE AMERICA, INC.,                                  No. C 10-03561 WHA
                                                                          9                  Plaintiff,
                                                                         10     v.                                                   FINAL PRETRIAL ORDER
                                                                         11
United States District Court




                                                                              GOOGLE INC.,
                               For the Northern District of California




                                                                         12                  Defendant.
                                                                         13                                                   /

                                                                         14           FOR GOOD CAUSE and after a final pretrial conference, the Court issues the
                                                                         15   following final pretrial order:
                                                                         16           1.     This case shall go to a JURY TRIAL at 7:30 AM on A DATE ON OR AFTER MARCH
                                                                         17   19, 2012, TO BE SELECTED, and shall continue until completed on the schedule discussed at the
                                                                         18   conference. The issues to be tried shall be those set forth in the joint proposed pretrial order
                                                                         19   except to the extent modified by order in limine. This final pretrial order supersedes all the
                                                                         20   complaint, answer and any counterclaims, cross-claims or third-party complaints, i.e., only the
                                                                         21   issues expressly identified for trial remain in the case.
                                                                         22           2.     All claims for relief arising out of any patent alleged in the complaint or any
                                                                         23   amended complaint shall be deemed merged into the claims already selected by plaintiff to
                                                                         24   be tried.
                                                                         25           3.     Rulings on the motions in limine shall be set forth in separate orders.
                                                                         26           4.     Except for good cause, each party is limited to the witnesses and exhibits
                                                                         27   disclosed in the joint proposed final pretrial order less any excluded or limited by an order
                                                                         28   in limine. Materials or witnesses used solely for impeachment need not be disclosed and may
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                                                                          1   be used, subject to the rules of evidence.
                                                                          2          5.      The stipulations of facts set forth in the joint proposed final pretrial order are
                                                                          3   approved and binding on all parties.
                                                                          4          6.      The parties shall follow the Court's current Guidelines for Trial and
                                                                          5   Final Pretrial Conference, separately provided and available on the Internet at
                                                                          6   http://www.cand.uscourts.gov, which guidelines are incorporated as part of this order.
                                                                          7          7.      The trial shall be trifurcated as follows:
                                                                          8          JURY SELECTION: To the potential jury pool, the Court will send out a written inquiry
                                                                          9   along the lines of the item previously supplied. This will go out with the summons. The
                                                                         10   ultimate purpose will be to excuse venirepersons for hardship without their having to travel to
                                                                         11   court, at least in clear-cut cases deserving to be excused. Those not so excused will appear on
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                               For the Northern District of California




                                                                         12   the first day of trial for jury selection. There will be no written substantive questionnaire. Jury
                                                                         13   selection will take about two hours. Counsel will be permitted to voir dire at the end of the
                                                                         14   Court’s voir dire. A jury of 12 will be sworn. The same jury will decide all phases of the trial.
                                                                         15          OPENING STATEMENT: Each side shall have one hour for opening statement. This may
                                                                         16   address all issues in the case or simply Phase One issues, as counsel wish, subject to rulings
                                                                         17   specifically limiting mention of topics or evidence to the jury.
                                                                         18          PHASE ONE: Phase One will be directed to all liability and defenses for all copyright
                                                                         19   claims but not for any other issues. To the extent it would constitute a copyright defense or go
                                                                         20   to a copyright liability issue, both sides may present more general “Java” evidence in Phase One
                                                                         21   (or Phase Two), such as implied license, laches, equitable estoppel, and waiver. Each side will
                                                                         22   have sixteen hours of evidence time for Phase One. At the end of the Phase One evidence, we
                                                                         23   will have closings (time limits to be determined), the jury will be instructed and the jury will
                                                                         24   deliberate and render a special verdict on all copyright liability issues. The Court is inclined to
                                                                         25   ask the jury for an advisory verdict on all equitable defenses, although the Court itself may
                                                                         26   possibly (or not) postpone ruling on equitable defenses until after Phase Two.
                                                                         27          PHASE TWO: The same jury will then return for Phase Two. Each side will
                                                                         28   have 45 minutes for opening statement. In addition, we will show the jury the FJC video on the


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                                                                          1   patent system (this will not be charged against anyone’s time limit). Phase Two will be directed
                                                                          2   to all patent liability and defense issues, including any generalized defenses. This phase is
                                                                          3   where the color-coded claim charts will be useful. Each side will have twelve hours of evidence
                                                                          4   time. At the end of the Phase Two evidence, we will again have closings (time limits to be
                                                                          5   determined), the jury will be instructed and the jury will deliberate and render a special verdict
                                                                          6   on all patent liability issues.
                                                                          7           PHASE THREE (IF NECESSARY): After openings of 45 minutes per side, all remaining
                                                                          8   issues would be tried including damages and willfulness. Each side may have up to eight hours
                                                                          9   of evidence time. Closings, instructions and verdict would then follow on those issues.
                                                                         10           GENERAL: Unused time from an earlier phase may be banked and used by a side in a
                                                                         11   following phase but counsel may not borrow time from a future phase. Evidence and
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                                                                         12   stipulations presented in an earlier phase will count as part of the trial record for all later phases
                                                                         13   and may be referenced in openings and closings for later phases. No trial testimony, however,
                                                                         14   will be video recorded. Witnesses will not be permitted to return to a subsequent phase to
                                                                         15   repeat testimony already given by them in an earlier phase. The jury will have already heard it.
                                                                         16   Witnesses may, however, return to provide new and fresh testimony on different points.
                                                                         17   Witnesses may not give testimony on a subject relevant only to a later phase. Openings and
                                                                         18   closings will not count against counsel’s allotment of evidence time. Both direct and
                                                                         19   cross-examination, however, will count against the allotment of evidence time. Evidence and
                                                                         20   argument relevant solely to whether a permanent injunction should issue must be saved for a
                                                                         21   subsequent proceeding, if necessary, after the jury trial.
                                                                         22           Any objection to this order must be filed within seven calendar days and must be
                                                                         23   specific and cite to legal authority.
                                                                         24
                                                                         25           IT IS SO ORDERED.
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                                                                         27   Dated: January 4, 2012.
                                                                                                                                           WILLIAM ALSUP
                                                                         28                                                                UNITED STATES DISTRICT JUDGE

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